Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 1 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 2 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 3 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 4 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 5 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 6 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 7 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 8 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document      Page 9 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document     Page 10 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document     Page 11 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document     Page 12 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document     Page 13 of 14
Case 17-06018-can   Doc 1   Filed 06/22/17 Entered 06/22/17 14:02:17   Desc Main
                            Document     Page 14 of 14
